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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

              JUAN PELAES PEREZ-URENA,                           CRIMINAL NO.
                  Movant,                                        1:05-CR-477-2-CC-GGB

                       v.                                       CIVIL ACTION NO.
                                                                1:11-cv-01356-CC-GGB
              UNITED STATES OF AMERICA,
                  Respondent.                                    MOTION TO VACATE
                                                                 28 U.S.C. § 2255


                               FINAL REPORT AND RECOMMENDATION

                   Juan Pelaes Perez-Urena (“Movant”) has filed a motion to vacate sentence under

             28 U.S.C. § 2255 [Doc. 1523]. Movant seeks to challenge the constitutionality of his life

             sentence that was imposed on September 19, 2008, following a jury verdict of guilty

             entered on February 7, 2008. [Doc. 1185]. Presently before the Court for consideration

             are: (1) Movant’s § 2255 motion to vacate [Doc. 1523]; (2) the United States of

             America’s (hereinafter “Government”) motion to dismiss and response to Movant’s

             motion to vacate [Doc. 1527]; and (3) Movant’s reply to the Government’s response

             [Doc. 1530].

             I.    BACKGROUND

                   On October 19, 2005, Movant was indicted by a federal grand jury for conspiracy

             to possess controlled substances, namely cocaine and methamphetamine, with the intent


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             to distribute (Count One); possession of cocaine with the intent to distribute (Count

             Three); and conspiracy to launder money (Count Nine). On October 27, 2005, Movant

             entered not guilty pleas. [Doc. 299].

                   On January 30, 2006, the Government filed a “Sentencing Information

             Establishing Prior Convictions for the Purpose of Increased Punishment.” The document

             provided that it was giving notice that Movant was subject to the enhanced sentencing

             provisions of Title 21 U.S.C. §§ 841(b)(1)A), 841 (b)(1)(B), 841(b)(1)(C) and 851.

             [Doc. 416]. In the Sentencing Information, the Government alleged that Movant had two

             prior felony drug convictions. [Id.].

                   A superseding indictment filed on December 12, 2006 charged Movant with

             conspiring to possess cocaine and methamphetamine with the intent to distribute, in

             violation of 21 U. S. C. §§ 841(a) (1) and 846 (Count One), two counts of possessing

             cocaine with the intent to distribute, in violation of 21 U.S.C. § 841(a) (1) (Counts Five

             and Nine); using a communication facility to commit a drug trafficking offense, in

             violation of 21 U. S. C. § 843(b) (Count Seven); and conspiring to launder money, in

             violation of 18 U.S.C. § 1956(h) (Count Seventeen). [Doc. 677].

                   Jury selection began on July 9, 2007, but a jury was not selected at that time, and

             the trial was continued to January 14, 2008. [Docs. 914, 916, 924]. On February 7,

             2008, a jury returned a verdict of guilty against Movant on the following counts: Count


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             One, specifically finding that the conspiracy involved at least five kilograms of cocaine

             and at least 500 grams of methamphetamine; Count Five, specifically finding that Count

             Five involved at least five kilograms of cocaine; Count Seven and Count Seventeen.

             [Doc. 1030].

                   The Pre-Sentence Report (PSR) reported that Movant was responsible for at least

             379 kilograms of cocaine, four kilograms of heroin, and 375 pounds of marijuana. The

             PSR calculated a base offense level of 38, with a two-level upward adjustment for the

             money laundering conviction, arriving at a total offense level of 40. [PSR at ¶ ¶ 108,

             110, 114]. As to criminal history, the PSR reported a 1981 conviction for “Possession

             of Narcotics for Sale” in the Superior Court of San Mateo County, California, and a

             1991 conviction for possession of heroin with intent to distribute in the United States

             District Court for the Northern District of California. [PSR at ¶ ¶ 119, 120]. With a total

             offense level of 40, and a criminal history category of II, Movant’s Sentencing Guideline

             range was 324 - 405 months. [PSR at 42]. No objections were filed to the PSR.

                   The sentencing hearing took place on September 19, 2009. At the sentencing

             hearing, Movant admitted to the two prior drug-related felonies. [Doc. 1350 at 4-7].

             The Government noted for the record that it had filed the documentation (the information

             required under 21 U.S.C. § 851) establishing the prior convictions. [Id. at 7]. The




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             Government informed the court, and defense counsel agreed, that the mandatory

             minimum sentence was a life sentence. (Doc. 1350 at p. 8).

                   The Court sentenced Movant to life imprisonment on Counts One and Five, 48

             months on Count Seven, and 240 months on Count Seventeen. Movant filed a timely

             notice of appeal on October 1, 2008. On December 14, 2009, the United States Court of

             Appeals for the Eleventh Circuit affirmed Movant’s conviction and sentence. United

             States v. Montalvo, 356 F. App’x 319 (11th Cir. 2009); [Doc. 1483].

                   Subsequently, Movant filed the current § 2255 Motion. On his certificate of

             service, Movant indicates that he submitted the motion for mailing on March 15, 2011;

             however, the envelope containing the § 2255 motion was marked as being received by

             the prison for mailing on April 13, 2011. [Doc. 1523 at 89; Doc. 1527, Exh. A at 2] .

             The § 2255 motion was postmarked April 15, 2011, and received by the Court on April

             26, 2011. [Doc. 1527, Ex. A]. Movant states under penalty of perjury that he signed and

             attempted to mail his motion on March 15, 2011, but that the institution refused to accept

             his mail on that day. [Doc. 1530].

             II. GOVERNMENT’S MOTION TO DISMISS

                   The Government moves to dismiss on the ground that Movant’s motion does not

             appear to be timely. The Government requests an evidentiary hearing to determine

             whether the motion was timely filed. Because, as discussed below, Movant’s motion is


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             due to be dismissed on the merits, I do not believe that it would be a good use of

             government resources to conduct an evidentiary hearing on the timeliness issue.

             Accordingly, I will assume, without deciding, that the motion was timely filed.

             III. DISCUSSION

                   In his motion, Movant alleges four grounds for relief from his conviction and

             sentence: (1) the Court lacked subject matter jurisdiction over Movant’s criminal case;

             (2) the Court lacked jurisdiction to sentence Movant to life because the Government

             failed to file a § 851 notice; (3) Movant’s appellate counsel was ineffective for not

             raising an issue regarding the jury instructions; and (4) Movant’s sentencing counsel was

             ineffective for not raising the fact that the Government purportedly failed to file a § 851

             enhancement as required to sentence Movant to life imprisonment. [Doc. 1523 at 4-8].

                   A. Subject Matter Jurisdiction

                   Movant argues that the Court has no subject matter jurisdiction over his case

             because the Government failed to show that the United States had ownership of the land

             in which the offense took place, and that the State of Georgia ceded that land. [Doc.

             1523 at 23-39; Doc. 1530]. However, it is well established that this Court has

             jurisdiction over offenses against the laws of the United States (Title 18 U.S.C. § 3231)

             and that the charged drug and money laundering offenses are offenses against the United

             States regardless of the fact that they did not take place on government property. See


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             Title 21 U.S.C. §§ 841, 843, 846; Title 18 U.S.C. § 1956. Thus, Movant’s argument is

             without merit.

                   B. Notice under § 851

                   Movant states that he reasonably understood that Docket Entry Number 416 was

             not the statutory notice required under Title 21 U.S.C. § 851, because the docket entry

             is entitled “Sentencing Memorandum.” However, regardless of the title of the docket

             entry, the document itself is entitled “Sentencing Information Establishing Prior

             Convictions For The Purpose of Increased Punishment,” and it cites § 851. The

             document complies with the requirements of § 851 and contains a Certificate of Service

             showing that it was served on Movant’s counsel. Thus, the Government provided the

             required notice of Movant’s prior convictions.

                   Movant also argues that his prior state offense should not have increased his

             mandatory minimum sentence because it was a conviction for simple possession, not a

             felony drug offense. However, Movant’s criminal history substantiates that Movant was

             convicted of violating California Health and Safety Code § 11351, the offense of

             possessing a controlled substance for sale. [Doc. 1527, Ex. B]. The PSR reports that

             this offense involved the sale of heroin, and that Movant was sentenced on this offense

             to five years incarceration, with one year to serve in prison and the balance on probation.




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             [PSR at ¶ 119]. There is no basis for Movant’s allegation that this conviction was for

             simple possession rather than sale of a controlled substance.

                   C. Ineffective Assistance of Appellate Counsel

                   Movant argues that his attorney was ineffective on appeal by failing to raise the

             fact that the jury did not make an individualized finding of drug type and quantity.

             However, the jury did make an individualized finding that Movant’s conspiracy involved

             at least five kilograms of cocaine and 500 grams of methamphetamine, and that he

             possessed at least five kilograms of cocaine with the intent to distribute. With this drug

             quantity, and Movant’s two prior felony drug convictions, Movant’s mandatory sentence

             was life imprisonment. See Title 21 U.S.C. § 841(b)(1)(A)(viii) (stating that in cases

             involving 5 kilograms or more of cocaine where the defendant has two prior convictions

             for felony drug offenses, the defendant must be sentenced to a mandatory term of life

             imprisonment).

                   Further, as long as a defendant is sentenced at or below the statutory maximum

             sentence authorized by the verdict, a trial court is not required to have the jury make a

             more specific individualized finding of drug quantity. See United States v. Clay, 376

             F.3d 1296, 1301 (11th Cir. 2004). Here, the sentence authorized by the jury’s verdict

             was up to life imprisonment. Therefore, no more specific findings by the jury were

             necessary. For these reasons, Movant’s counsel was not ineffective on appeal.


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                   D. Ineffective Assistance of Sentencing Counsel

                   Finally, Movant alleges that his attorney was ineffective for failing to argue that

             the Government had failed to file a sentencing information under Title 21 U.S.C. § 851,

             and that his prior state conviction did not qualify as a felony drug offense. However, as

             discussed above, the Government did file the proper sentencing information, and

             Movant’s state conviction for possessing heroin for sale was a prior felony conviction.

             Thus, Movant’s attorney was not ineffective for failing to argue contrary to these facts.

             IV. CERTIFICATE OF APPEALABILITY

                   According to Rule 11 of the Rules Governing Section 2255 Proceedings for the

             United States District Courts, a district court “must issue or deny a certificate of

             appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C.

             § 2253(c)(2), a certificate of appealability shall not issue unless “the applicant has made

             a substantial showing of the denial of a constitutional right.” A prisoner satisfies this

             standard by demonstrating that reasonable jurists would find that the district court’s

             assessment of his constitutional claims is debatable or wrong and that any dispositive

             procedural ruling by the district court is likewise debatable. See Miller-El v. Cockrell,

             537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000).




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                   Movant has failed to make a substantial showing of the denial of a constitutional

             right. Movant’s grounds for relief are without merit. Accordingly, I RECOMMEND

             that a certificate of appealability be DENIED.

             V. CONCLUSION

                   Based on the foregoing, I RECOMMEND that Movant’s motion to vacate

             sentence [Doc. 1523] be DENIED.

                   I FURTHER RECOMMEND that a certificate of appealability be DENIED.

                   The Clerk is DIRECTED to terminate the referral to me.

                   IT IS SO RECOMMENDED, this 27th day of March, 2012.




                                                   GERRILYN G. BRILL
                                                   UNITED STATES MAGISTRATE JUDGE




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